Case 6:14-cv-00008-CEM-DAB Document 117 Filed 06/29/15 Page 1 of 3 PageID 3308



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 FEDERAL TRADE COMMISSION and
 STATE OF FLORIDA, OFFICE OF
 THE ATTORNEY GENERAL,
 DEPARTMENT OF LEGAL AFFAIRS,

                       Plaintiffs,

 v.                                                            Case No: 6:14-cv-8-Orl-41DAB

 WORLDWIDE INFO SERVICES, INC.,
 ELITE INFORMATION SOLUTIONS
 INC., ABSOLUTE SOLUTIONS GROUP
 INC., GLOBAL INTERACTIVE
 TECHNOLOGIES, INC., GLOBAL
 SERVICE PROVIDERS, INC., LIVE
 AGENT RESPONSE 1 LLC, ARCAGEN,
 INC., AMERICAN INNOVATIVE
 CONCEPTS, INC., UNIQUE
 INFORMATION SERVICES INC.,
 MICHAEL HILGAR, GARY MARTIN,
 JOSEPH SETTECASE, NATIONAL
 LIFE NETWORK INC. and YULUISA
 NIEVES,

                       Defendants.
                                            /

                                            ORDER

        THIS CAUSE is before the Court on the Receiver’s, Robb Evans & Associates LLC (the

 “Receiver”), Final Motion for Approval and Payment of Fees and Expenses (Doc. 115). United

 States Magistrate Judge David A. Baker submitted a Report and Recommendation (Doc. 116),

 which recommends: (1) that the Receiver’s motion be granted in part and denied in part; (2) that

 the Receiver be permitted to withdraw $26,949.61 from the Receivership estate for its fees, its




                                           Page 1 of 3
Case 6:14-cv-00008-CEM-DAB Document 117 Filed 06/29/15 Page 2 of 3 PageID 3309



 expenses, and its counsel’s fees and expenses 1; and (3) that the remaining funds be disbursed to

 Plaintiffs. (Id. at 11).

         After an independent de novo review of the record and noting that no objections were

 timely filed, this Court agrees entirely with the findings of fact and conclusions of law in the Report

 and Recommendation.

         Therefore, it is ORDERED and ADJUDGED as follows:

             1. The Report and Recommendation (Doc. 116) is ADOPTED and CONFIRMED

                  and made a part of this Order.

             2. The Receiver’s Final Motion for Approval and Payment of Fees and Expenses

                  (Doc.115) is GRANTED in part and DENIED in part.

             3. The Receiver shall disburse $26,949.61 from the Receivership estate, in accordance

                  with the Report and Recommendation and this Order.

             4. Following that disbursement, the Receiver shall disburse all remaining proceeds

                  from the Receivership estate to Plaintiff Federal Trade Commission, in accordance

                  with the Court’s November 13, 2014 Order and Permanent Injunction (Doc. 102,

                  at 13) and March 6, 2015 Order and Permanent Injunction (Doc. 109, at 10–11).

             5. Following those disbursements, the Receiver shall be discharged of its obligations,

                  (see Doc. 102 at 13; Doc. 109 at 10–11), and the Receivership shall be terminated,

                  without further Order of the Court.




         1
         This amount includes: $7,240.15 for the Receiver’s fees; $4,709.46 for the Receiver’s
 expenses; and $15,000.00 for the Receiver’s counsel’s fees and expenses.



                                              Page 2 of 3
Case 6:14-cv-00008-CEM-DAB Document 117 Filed 06/29/15 Page 3 of 3 PageID 3310



        DONE and ORDERED in Orlando, Florida on June 29, 2015.




 Copies furnished to:

 Counsel of Record




                                      Page 3 of 3
